Case 1:14-ml-02570-RLY-TAB Document 22547 Filed 08/16/22 Page 1 of 3 PageID #:
                                 132893



                               IN THE UNITED STATES DISTRICT
                                COURT SOUTHERN DISTRICT OF
                               INDIANA INDIANAPOLIS DIVISION



 In Re: COOK MEDICAL, INC., IVC FILTERS
 MARKETING, SALES PRACTICES AND                                  Case No. 1:14-ml-2570-RLY-TAB
 PRODUCTS LIABILITY LITIGATION                                                     MDL No. 2570

 This Document Relates to:

 Sarah E. Windley 1:22-cv-06771-RLY-TAB

                    MOTION TO AMEND SHORT FORM COMPLAINT

       Pursuant to Federal Rules of Civil Procedure, Rule 15, Plaintiff moves this Court

to amend her Short Form Complaint (Dkt. 21896; “SFC”) in the above captioned action and, in

support, states as follows:

       1.      A party may amend her pleading “[w]ith … the court’s leave. The court should

freely give leave when justice so requires.” Fed. R. Civ. P. 15(a)(2).

       2.      A party may also amend the pleadings as may be necessary “at any time” “to

conform them to the evidence.” Fed. R. Civ. P. 15(b)(2).

       3.      Plaintiff listed her implant date on her SFC as “04/11/2011” on page three in

section 11.

       4.      Plaintiff’s actual date of implant was 04/08/2011.

       5.      Plaintiff seeks to amend her SFC to clarify that her Cook IVC filter was implanted

on 04/08/2011.

       6.      The proposed Amended Short Form Complaint is attached as Exhibit A.

       7.      No prejudice would result from this amendment.

                                              Respectfully submitted,
Case 1:14-ml-02570-RLY-TAB Document 22547 Filed 08/16/22 Page 2 of 3 PageID #:
                                 132894



                                    /s/Jennifer Rethemeier
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                                    Lead Counsel for Plaintiff

                                    Dated: August 16, 2022
Case 1:14-ml-02570-RLY-TAB Document 22547 Filed 08/16/22 Page 3 of 3 PageID #:
                                 132895



                                CERTIFICATE OF SERVICE

        I certify that on August 16, 2022, the foregoing was filed electronically and notice of the
filing accordingly will be sent to all required parties by operation of the Court.



                                      /s/Jennifer Rethemeier
                                      Jennifer Rethemeier
